                   IN THE
Case 3:14-cv-03088-M      UNITED11STATES
                       Document      FiledDISTRICT
                                           10/15/14 COURT
                                                      Page 1 of 3                          PageID 149
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

DAVID TYLER MOSS and BRANDON               *
KEATING,                                   *
                                           *
       Plaintiffs,                         *
                                           *
V.                                         *                     Civil Action No.: 3:14-CV-3088-M
                                           *
MARKO PRINCIP, Individually doing business *
as VIDEOGAMES YOUTUBE CHANNEL doing *
business as ACHEIVEMENT GUIDE doing        *
business as GAME GUIDE LLC,                *
                                           *
       Defendants.                         *

                    ORDER REQUIRING SCHEDULING CONFERENCE
                          AND REPORT FOR CONTENTS OF
                               SCHEDULING ORDER

       Pursuant to Fed. R. Civ. P. 16(b), Rule 26, and the Court’s Civil Justice Expense and Delay
Reduction Plan (the “Plan”), the Court enters this Order to promote possible early settlement of this
action and to facilitate subsequent entry of a Scheduling Order. This Order is being sent to all
counsel and unrepresented parties who have appeared. If there are other defendants who have not
appeared, but who have been in contact with the plaintiff or plaintiff’s counsel, then the plaintiff’s
counsel (or the plaintiff if the plaintiff is unrepresented) is responsible for contacting such defendants
and making every effort to ensure their meaningful participation in the conference.

***NOTE: If the parties are agreeable to this case being tried within six (6) months, with only
agreed discovery as to which no motions will be permitted, and no dispositive motions may be
filed, then the parties, upon agreement, should write to advise the Court Coordinator, no later
than November 26, 2014, and a trial date within six (6) months will be set. The deadlines for
joinder of parties, and amendment of pleadings, will be set one (1) month after the date of the
trial setting order. If the parties are not agreeable to this case being tried within six (6) months,
then the parties should meet and file a Joint Report as set out in Sections I and II of this
Order.

                                                    I.

        Lead counsel for each party (or a designee attorney with appropriate authority) and any
unrepresented party (except for a prisoner litigant proceeding pro se) shall confer as soon as
practicable, but in any event no later than November 12, 2014, (the “Scheduling Conference”) and
consider (1) the nature and basis for their claims and defenses; (2) the possibilities for a prompt
resolution of the case; (3) to make or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1)
and to prepare the report described below. It is the Court’s belief that a personal face-to-face
meeting is usually the most productive type of conference, but the Court will leave to the
professionalism of the parties a determination of the form for the Scheduling Conference. As a result
of the Scheduling Conference, counsel shall prepare and submit a Report Regarding Contents of
Case 3:14-cv-03088-M Document 11 Filed 10/15/14                     Page 2 of 3 PageID 150
Scheduling Order (“Joint Report”). The Joint Report shall also include a status report on settlement
negotiations but shall not disclose settlement figures.

                                                 II.

        The Joint Report, which shall be filed on or before November 26, 2014, shall include
the following in separate numbered paragraphs (but NOT in a proposed Order format):

       (1)     A brief statement of the claims and defenses;
       (2)     A proposed time limit to file motions for leave to join other parties;
       (3)     A proposed time limit to amend the pleadings;
       (4)     Proposed time limits to file various types of motions, including dispositive motions
               (NOTE: The dispositive motion deadline cannot be less than 90 days before trial; the
               Court prefers 120 days);
       (5)     A proposed time limit for initial designation of experts;
       (6)     A proposed time limit for responsive designation of experts;
       (7)     A proposed time limit for objections to experts (i.e. Daubert and similar motions);
       (8)     A proposed plan and schedule for discovery, a statement of the subjects on which
               discovery may be needed, a time limit to complete factual discovery and expert
               discovery, and a statement of whether discovery should be conducted in phases or
               limited to or focused upon particular issues;
       (9)     What changes should be made in the limitations on discovery imposed under these
               rules or by local rule, and what other limitations should be imposed;
       (10)    Proposed means for disclosure or discovery of electronically stored information
               (“ESI”) and a statement of any disputes regarding the disclosure or discovery of
               ESI;
       (11)    Any proposals regarding the handling and protection of privileged or trial-preparation
               material that should be reflected in a Court Order.
       (12)    A proposed trial date, estimated number of days required for trial and
               whether jury has been demanded;
       (13)    A proposed date for further settlement negotiations;
       (14)    Objections to Fed. R. Civ. P. 26(a)(1) asserted at the Scheduling Conference, and
               other proposed modifications to the timing, form or requirement for disclosures under
               Rule 26(a), including a statement as to when disclosures under Rule 26(a)(1) were
               made or will be made;
       (15)    Whether the parties will consent to trial (jury or non-jury) before U.S. Magistrate
               Judge Renee Harris Toliver (consent form attached);
       (16)    Whether the parties are considering mediation or arbitration to resolve this litigation
               and a statement of when it would be most effective (e.g., before discovery, after
               limited discovery, after motions are filed, etc.), and, if mediation is proposed, the
               name of any mediator the parties jointly recommend to mediate the case;
       (17)    Any other proposals regarding scheduling and discovery that the parties believe will
               facilitate expeditious and orderly preparation for trial;
       (18)    Whether a conference with the Court is desired; and
       (19)    Any other matters relevant to the status and disposition of this case, including any
               other Orders that should be entered by the Court under R. 16(b) and (c) and 26(c).




                                                  2
 Case 3:14-cv-03088-M Document 11 Filed 10/15/14                     Page 3 of 3 PageID 151
        The filing of the Joint Report is mandatory. When submitting proposed dates to the
Court, the parties should assume that the Scheduling Order will be entered by the Court
within approximately one month from the date of the parties’ Joint Report. All parties shall
endeavor to prepare joint suggestions, but if they cannot agree, the Joint Report shall reflect their
respective views. In such a case, the Joint Report shall set forth with each party’s respective
recommendation a statement of why agreement could not be reached. The names of any persons
named in the case who did not participate in the conference shall be identified in the Joint Report.

                                                   III.

       Unless plaintiff is unrepresented, lead counsel for plaintiff is responsible for initiating contact
with opposing counsel and all unrepresented parties for the purpose of arranging the Scheduling
Conference and preparing the Joint Report. Lead counsel for all parties and unrepresented parties
are equally responsible for seeing that this Order is complied with in a timely manner. At least one
counsel for each party and all unrepresented parties shall sign the Joint Report prior to filing.

                                                   IV.

        Because pursuant to Fed. R. Civ. P. 16(b), the Court is to enter a Scheduling Order “as soon
as practicable but in any event within 90 days after the appearance of a defendant and within 120
days after the complaint has been served on a defendant,” any request for an extension of time to file
the Joint Report shall be denied, absent a showing of good cause.

                                                   V.

        Unless a scheduling conference with the Court is set, a Scheduling Order will be issued
following the Court’s review of the Joint Report. Once the Scheduling Order has been issued,
a continuance of the trial date will not be granted absent extraordinary circumstances.
Without filing a motion, the parties may agree to the extension of any date in the Scheduling Order
except for the dispositive motion deadline, pretrial material filing deadline, pretrial conference date
and trial date; provided, however, that no extensions will be given effect by the Court unless the
Court receives prompt written notice confirming the existence of the extension.

                                                   VI.

       Unless this is an action exempted by Fed. R. Civ. P. 26(a)(1)(E), or objection to
disclosure is asserted at the Scheduling Conference, in good faith, as provided in Fed. R. Civ. P.
26(a)(1), the parties must make the disclosures described in Fed. R. Civ. P. 26(a)(1) within
fourteen days of the date set out in Paragraph I hereof.

      Questions relating to this Order are to be directed to Ms. Lori Anne Greco, Courtroom
Deputy (214/753-2421).

      IT IS SO ORDERED.

      SIGNED: October 15, 2014, at Dallas, Texas.

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                                                BARBARA M. G. LYNN
                                                UNITED STATES DISTRICT JUDGE
                                                NORTHERN DISTRICT OF TEXAS
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